Case 0:23-cr-60193-PCH Document 3 Entered on FLSD Docket 10/05/2023 Page 1 of 12
                                              SEF.LED                   FILEDBy              D.c.
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                                       18U.S.C.j1343
                                       18U.S.C.j981(a)(1)(C)

  UM TED STA TES O F AM ER ICA

  VS.


  DE RR ICK J.NE SBITT,

                 D efendant.
                                          /

                                              IN DIC TM EN T

         The Grand Jury charges that:

                                    G EN ER AL A LLEG A TIO N S

         Atalltim esrelevantto thisIndictm ent:

                                 Tke Sm allB usinessA dm inistration

                 The United States SmallBusiness Administration (ûGSBA'') was an executive
  branch agency ofthe United Statesgovernm entthatprovided supportto entreprenelzrsand small

  businesses. The m ission ofthe SBA wasto m aintain and strengthen the nation's economy by

  enabling the establislunent and viability of sm all businesses and by assisting in the econom ic

  recovery of com m tm ities after disasters.

                 As pa.
                      rtofthis effort,the SBA enabled and provided loansthrough banks,credit

  unions,and other lenders. These loanshad govenzm ent-backed guarantees.
Case 0:23-cr-60193-PCH Document 3 Entered on FLSD Docket 10/05/2023 Page 2 of 12




                                The Paycheck Protection Program

                TheCoronavinlsAid,Relief,andEconomicSecurityICCCARES''IAd wasafederal
  law enacted in oraround M arch 2020,designed to provide emergency financialassistanceto the

  m illions of A m ericans who w ere suffering from the econom ic effects caused by the CO VID -19

  pandem ic. One source of relief that the CA RES A ct provided w as the Paycheck Protection

  Program CTPP''),which authorized fozgivable loansto smallbusinessesforjob retention and
  certain otherexpenses.

                The SBA prom ulgated regulationsconcem ing eligibility fora PPP loan. To obtain

  a PPP loan,a qualifying businessw asrequired to subm ita PPP loan application,which w as signed

  by an authorized representative ofthe business. The PPP loan application required the business

  (through its authorized representative)to acknowledge the program nzles and make certain
  affirmative certificationsto beeligibleto obtain thePPP loan,including thatthe businesswasin

  operation on February 15,2020,and eitherhad em ployeesfor whom it paid salaries and payroll

  taxesorpaid independentcontractors.Paym entsto independentcontractors are typically reported

  tothelnternalRevenue Service(1ûlRS'')on a tTorm 1099-M ISC.'' In thePPP loan application
  (SBA Form 2483),thesmallbusiness(throughitsauthorizedrepresentative)wasrequiredtostate,
  nmongotherthings,its:(a)averagemonthlypayrollexpenses;(b)totalamountofgrossincome,
  and(c)numberofemployees.Thesefigureswereusedtocalculatetheamountofmoneythesmall
  businesswaseligibleto receivetmderthe PPP.

                In addition, a business applying for a PPP loan w as required to provide

  docum entation show ing its payroll expenses. This payroll infonnation w as m aterial to the

  application because,pursuantto statutory requirem entsand im plem enting regulations,the am ount

  of the loan that typically could be approved w as a function of the applicant's historicalpayroll
Case 0:23-cr-60193-PCH Document 3 Entered on FLSD Docket 10/05/2023 Page 3 of 12




  costs,consisting of com pensation to its em ployees w hose principalplace of residence was the

  UnitedStates,subjecttocertainexclusions.
                Individuals who operated a business under a Stsole proprietorship'' business

  structurewereeligible fora PPP loan. To qualify forsuch a PPP loan,individualshad to report

  and docum ent their incom e and expenses from the sole proprietorship. Sole proprietorships

  typically reporttheirincom e alad expenses yearly to the IRS cm a IfFOI'
                                                                         In 1040,Schedule C.'' A s

  w ith other PPP loans,this infonnation and supporting docum entation w as used to calculate the

  am otmtofm oney the individualwasentitled to receive underthe PPP. The maximum PPP loan

  am otmtfora soleproprietorwith no em ployeeswas$20,833.
                PPP loan applicationsw ere processed by participating lendersand third-party loan

  processors. lfaPPP loan application wasapproved,theparticipating lenderfunded thePPP loan

  usingitsownmoniesby electronictransferthroughtheAutomated Clearinghouse(ACH)system.
  W hile itw as the participating lenderthatissued the PPP loan,the loan was 100% guaranteed by

  the SBA . D ata from the application,including infonuation aboutthe borrow er,the totalam ount

  oftheloan,and thelisted num berofemployees,wastransmitted by the lenderto the SBA in the

  cottrse ofprocessing the loan.

                A fter the lender ftm ded the PPP loan to the borrow er, the lender subm itted

  disbursem entdetailsinto theSBA E--fran system ,with serverslocated in Sterling,V A .The SBA 'S

  D enver Finance Center, located in D enver, Colorado, created paym ent files and authorized

  paym ents of the PPP processing fee to the lender through the FinancialM anagem ent System to

  the Treasury. The prim ary serverforthe FinancialM anagem entSystem w asin Sterling,V A . The

  PPP processing fee varied depending on the am ount ofthe loan.Once created,the paym entfiles

  w ere then transm itted via wire to the U .S.Treasuly disbursing office in K ansas City,M issouri,
Case 0:23-cr-60193-PCH Document 3 Entered on FLSD Docket 10/05/2023 Page 4 of 12




  which,in tuz'
              n,sent instructions for paym ent of ftmds to the Federal Reserve B ank A utom ated

  Clearing H ouseprocessing site in EastR utherford,N ew Jersey.

                TheproceedsofaPPP loan could be used only forcertain specified item s,such as

 payrollcosts,costs related to the continuation of group health care benefits,or m ortgage interest

 paym ents for the business. The proceeds of a PPP 1oan w ere notpennitted to be used by the

  borrowerstopurchaseconsumergoods,automobiles,personalresidences,clothing,orjewelry,to
  pay the borrower'spersonalfederalincom e taxes,orto fund the borrow er's ordinary day-to-day

  living expensesunrelated to the specified authorized expenses.

         10.    The PPP allow ed the interestand principalon the PPP loan to be entirely forgiven

  ifthe borrow erutilized 60% of the loan in the 24 w eekspost-disbursem enttoward payrollcosts

  andutilizedtheremaining40% cm qualifiedexpenseitems(e.g.,mortgage,rent,aladutilities).
                Applying forPPP loan forgivenesswasa separateprocessthatrequired additional

  affirm ationsthatthe applicantsatisfied the eligibility forPPP loan forgiveness. W hateverportion

  ofthe PPP loan w asnotforgiven w as serviced as a loan.

                           The Econom ic fa./lzryDi
                                                  sasterLoanProgram
                A nother related response to the CO V lD-19 outbreak w as an expansion of an

  existing disaster-related program administered by the SBA,theEconomiclnjury DisasterLoan
  (ûûE1DL'')program,to provide loans up to $150,000,and additionaladvance funds of up to
  $10,000,forsmallbusinessesexperiencing atemporary lossofrevenuedueto thepandem ic.

         13. ToqualifyforanEIDL authorizedbytheCARESAct,applicantshadtobe:(1)a
  business, cooperative, or agricultural enterprise w ith 500 or few er em ployees, a faith-based

  organization, a private non-profit, a sole proprietorship or an independent contractor; (2)




                                                 4
Case 0:23-cr-60193-PCH Document 3 Entered on FLSD Docket 10/05/2023 Page 5 of 12




 physically located in the United Statesoradesignatedterritory;and (3)havesuffered working
  capitallossesdue to the COV 1D -19 pandem ic.

         14.    EID L loan am ounts w ere based off a rough calculation of the applicant's net

  revenuesoverthe six m onthspriorto January 31,2020. The rough calculation took the difference

  betw een the previous annual gross revenues and the previous annualcost of goods sold. That

  numberwasdivided by two to determinetheapproved loan amount,up to $150,000.
                EIDL advance am olm ts w ere based off the business's reported num ber of

  employeesas ofJanuary 31,2020. The SBA provided $1,000 in EIDL advance fundsforeach

  employeeon theapplicant'spayroll,up to themaximum amountof$10,000.

                EID L proceedscould have been used to pay fixed debts,payroll,accountspayable,

  and other bills ofthe business thatcould have been paid had the disaster notoccurred;however,

  such loan proceeds w ere not intended to replace lost sales or profits,or for the expansion of a

  business.

                Unlike certain other types of SBA -guaranteed loans, EID L funds w ere issued

  directly from the U nited States Treasury,and applicants applied forEIDL funds directly through

  the SBA via an online portal and application. The EID L application process,w hich also used

  certain outside contractors for system support,collected infonnation concerning the businessand

  the business ow ner,including infonnation aboutthe grossrevenues and costofgoodssold forthe

  business prior to January 31, 2020. Applicants electronically certified that the inform ation

  provided wastrueandacctlrateand werewarned thatany false statem entorm isrepresentationsto

  the SBA , or any m isapplication of loan proceeds m ay result in sanctions,including crim inal

  penalties.
Case 0:23-cr-60193-PCH Document 3 Entered on FLSD Docket 10/05/2023 Page 6 of 12




                EID L applications w eze received in and processed using com puter serverslocated

 in the states ofIow a,V irginia,and W ashington. EID L disbursem entpaym entsw ere initiated by

 the SBA using computerserverslocated in the stateofColorado,which transm itted thepayment

  infonnation to the Treasury using com puterservers located in the state ofV irginia.

                                The D efendant and R elated Entitv

                D ERR IC K J.N ESBITT w as a residentofBrow ard County,Florida.

         20.    D ER RIC K J.N ESBITT was the registered agentand m anagez of D esigner Life

 LLC (ir esignerLife''),which wasa Florida Limited Liability Company created in orabout
  December2019.

                              R elevantL ender and Loan Processor

                 Lender 1 w as a pm icipating lender in the PPP thatissued loans,and wasbased in

 LagunaHills,California.

                 Loan Processor 1 w as a third-party loan processtm based in San Francisco,

  Califonzia,thatprocessed PPP loan applicationsforLender 1.

                                           C O U NT S 1-2
                                            W ire Fraud
                                         (18U.S.C.j1343)
                 The G eneralAllegations section ofthis lndictm entis re-alleged and incorporated

  byreferenceasthough fully setforth herein.

                 From in oraroundJuly 9,2020,through in Oraround M ay 3,2021,theexactdates

  beingunknownto the Grand Jury,in Broward County,Florida,in the Southern DistrictofFlorida,

  and elsew here,the defendant,

                                     D E R R IC K .1.N E SB IT T ,




                                                  6
Case 0:23-cr-60193-PCH Document 3 Entered on FLSD Docket 10/05/2023 Page 7 of 12




  did knowingly,and with theintentto defraud,devise,and intend to devise,aschem eand artifice

  to defraud, and to obtain m oney and property by m eans of m aterially false and fraudulent

  pretenses, representations, and prom ises, know ing that the pretenses, representations, and

  promiseswerefalseand fraudulentwhen m ade,and,forthepulposeofexecuting the scheme and

  artifice,did krlowingly transmitand causeto be transmitted,by m eansofwire com mtmication in

  interstate com m erce,certain w ritings,signs,signals,pictures,and sounds,in violation ofTitle 18,

  U nited States Code,Section 1343.

                        PUR PO SE O F TH E SC H EM E A N D A R TIFICE

         25.    ltw asthe purpose ofthe schem e and artifice forthe defendantto unlaw fully enrich

  him self by,am ong other things,subm itting and causing the subm ission of false and fraudulent

  applications forloans m ade available through the SBA to provide reliefforthe econom ic effects

  caused by the COV 1D -19 pandem ic,including loansthrough the PPP and EID L program .

                                TH E SC H EM E A N D A R TIFICE

         The m alm er and m eans by w hich the defendant soughtto accom plish the purpose of the

  schem e and artifice included,am ong others,the follow ing:

         26.     DERRICK J. NESBITT submitted and caused the subm ission of EIDL

  application num ber 3309875748 to the SBA ,w hich contained m aterially false and fraudulent

  informationasto:(1)thebusiness'scostofgoodssoldforthe12monthspriortoJanualy 31,2020;
  (2)thedateonwhichthebusinesswasestablished'
                                            ,and(3)thebusiness'snumberofemployeesas
  ofJanuary 31,2020.

                A s a resultof the false and fraudulentEID L loan application subm itted aspartof

  this schem e,on or about July 14,2020,the SB A approved an EID L advance loan for D esigner

  Life,LLC and disbtlrsed proceeds of SBA loan num ber 3309875748 in the approxim ate am otm t
Case 0:23-cr-60193-PCH Document 3 Entered on FLSD Docket 10/05/2023 Page 8 of 12




  of$4,000 to DERRICK J.NESBITT atBB& T accountnum berending in 2360,which account

  wasin the nam e ofD esignerLife,LLC .

         28.     DER R ICK J.N ESB ITT subm itted and caused thesubm ission ofPPP applications

 to the SBA,Loan Processor 1,and Lender 1 that contained materially false and fraudulent

  inform ation asto the borrower'sgrossincom eand the yearofestablishm entofhisbusiness,am ong

  otherthings.

                 DE RR ICK J.NE SBITT subm itted and caused the subm ission ofm aterially false

  and fraudulent infonnation and docum entation in support of the applications for PPP loans,

  including falsified lnternalRevenueServicetax form s,among otherthings.

         30.     Asa resultofthe false and fraudulentPPP loan applicationssubm itted aspartof

  this schem e,on or about April 16,202l,Lender 1 approved PPP loan num ber 7817418710 for

  DERRICK J.NESBITT and disbursed the loan proceedsin theapproxim ateam ountof$18,497

  to DERRTCK J.NESBITT atBB&T accountnumberending in 2360,which accountwasin the

  nam eof DesignerLife,LLC.

                 A s a result ofthe false and fraudulentPPP loan applications subm itted as partof

  this schem e, on or about M ay 3,2021,Lender 1 approved PPP loan num ber 2380568909 for

  DERRICK J.NESBITT,anddisbursedtheloan proceedsin the approxim ateamountof$18,497

  to DERRICK J.NESBITT atBB&T accotmtnumberending in 2360,which accountwasin the

  nam e ofD esigner Life,LLC.

         32. DERRICK J.NESBITT used the proceeds ofthe scheme to tmjustly erlrich
  hirnself




                                                 8
Case 0:23-cr-60193-PCH Document 3 Entered on FLSD Docket 10/05/2023 Page 9 of 12




                                             USE O F W IR ES

                On or aboutthe dates listed below ,in Brow ard County,Florida,in the Southern

  District of Florida,and elsewhere,the defendant,D ER RIC K J.N ESB ITT ,for the purpose of

  executing and in furtherance ofthe aforesaid schem e and artifice to defraud,and to obtain m oney

  and property by m eansofm aterially false and fraudulentpretenses,representations,and prom ises,

  knowing thatthe pretenses,representations,and prom ises were false and fraudulentw hen m ade,

  did know ingly transm it and cause to be transm itted in interstate com m erce,by m eans of w ire

  com m unication, certain writings, signs, signals, picttzres, and sounds, as m ore specifically

  described below :

     CO U N T         A PPR O M M A TE                  D ESC RIPTIO N O F W IR E
                           DA TE

         1             A pril 16,2021       An Autom ated Clearing H ouse paym ent in the
                                            approximate am ount of $18,497 from Lender 1 to
                                            D ERR ICK J.N ESBITT 'S BB & T account num ber
                                            ending in 2360,w hich account w as in the nam e of
                                            D esignerLife,LLC
         2              M ay 3,2021         An Autom ated Clearing H ouse paym ent in the
                                            approximate amount of $18,497 from Lender 1 to
                                            D ERR I'CK N ESBITT'S BB& T account num ber
                                            ending in 2360,w hich account w as in the nam e of
                                            D esi nerLife,LLC .


         ln violation ofTitle 18,U nited StatesCode,Section 1343.



                             (remainderofpageintentionallyleftblankj




                                                 9
Case 0:23-cr-60193-PCH Document 3 Entered on FLSD Docket 10/05/2023 Page 10 of 12




                                FO R FEITUR E A LLEG A TIO N S

                 The allegations ofthislndictm entare hereby re-alleged and by thisreference fully

  incorporated herein forthepurposeofalleging forfeitureto the United StatesofA m erica ofcertain

  property in which thedefendant,DERRICK NESBITT,hasan interest.

                 Upon conviction ofa violation ofTitle 18,United States Code,Section 1343,as

  alleged in thisIndictm ent,the defendantshallforfeitto the United Statesany property,realor

  personal,which constitutesorisderived from proceedstraceable to such offense,pursuantto Title

  18,UnitedStatesCode,Section 981(a)(1)(C).
           A1lpursuantto Title 18,United StatesCode,Section 981(a)(1)(C)andtheproceduresset
  forth in Title 21,U nited StatesCode,Section 853,asincozporated by Title28,U nited StatesCode,

  Section2461(c).


                                                             A TRU E BILL

                                                                    zn        ,1

                                                             FOR EP R


                                   S
            N    L A INTE
  U N IT           S A TTORN EY


        H A R.M ITRAN I
  A SSISTAN T UN ITED STA TES A TTORN EY




                                                 10
 Case 0:23-cr-60193-PCH Document 3 Entered on FLSD Docket 10/05/2023 Page 11 of 12
                                  U NITED STATES D ISTRICT CO UR T
                                  SO UTH ERN DISTRICT O F FLOR IDA

U NITED STA TES OF AM ERICA                         CASE N O .:


                                                    CER TIFICATE OF TRIA L A TTOR NEY
DERRICK J.NESBITT,
                                       /            Superseding Case lnform ation:
                 D efendant.                        New Defendantts)(YesorNo)
CourtDivision (selectone)                           N um berofN ew D efendants
     EEIM iami     n Key w est L FTP                Totalnum berofcounts
     E FTL         n W PB

ldo hereby certify that'
                       .
 l.    lhave carefully considered the allegations ofthe indictm ent,the numberofdefendants,the numberofprobable
       witnessesandthelegalcomplexitiesofthelndictm ent/lnformation attachedhereto.
       1arflawarethatthe information supplied on thisstatementwillberelied upon by theJudgesofthisCourtin setting
       theircalendarsandschedulingcriminaltrialsunderthemandateoftheSpeedyTrialAct,Title28U.S.C.j3161.
       Interpreter:(YesorNo)No
       Listlanguageand/ordialect:

 4.    Thiscase willtake 3 daysforthepartiestotry.

       Please check appropriate categol'y and typeofoffense listed below :
       (Checkonlyone)                       (Checkonlyone)
       I E 0to 5 days                      L'Petty
       11 L 6to 10 days                    D M inor
       IlI L'11to20 days                   L'M isdemeanor
       IV L'21to 60 days                   N'Felony
       V D 61daysand over
 6     HasthiscasebeenpreviouslyfiledinthisDistrictCourt?(YesorNo)NO
       lfyes,Judge                                  CaseN o.
       Hasacomplaintbeenfiledinthismatter?(YesorNo)No
       lfyes,M agistrate CaseN o.
 8. Doesthiscaserelateto apreviously filed matterin thisDistrictCourt?(YesorNo)N0
       lfyes,Judge                                  CaseN o.
 9. Defendantts)in federalcustodyasof
 10. Defendantts)instatecustodyasof
  11. Rule 20 from the               D istrictof
  12. lsthisapotentialdeathpenaltycase?(YesorNo)N0
  13. Doesthiscase originatefrom am atterpending in theN orthern Region ofthe U .S.Attorney'sOffice
       priortoAugust8,2014(M ag.JudgeShaniekMaynard?(YesorNo)No
       D oesthiscase originatefrom a m atterpending in the CentralRegion ofthe U .S.A ttorney'sOffice
       priorto October3,2019 (M ag.JudgeJaredStrauss?(YesorNo)No
       D id thism atterinvolvetheparticipation oforconsultation w ith now M agistrateJudge Eduardo 1.Sanchez
       during histenure atthe U .S.A ttorney's Office,which concluded on January 22,2023* N O


                                                    By:
                                                             ert a R .M itrani
                                                            AssistantUnited StatesA ttonw y
                                                            FL BarNo.          88171
Case 0:23-cr-60193-PCH Document 3 Entered on FLSD Docket 10/05/2023 Page 12 of 12




                           U NITED STA TES DISTRIC T CO UR T
                           SO U TH ER N DISTR IC T O F FL O R ID A

                                       PEN ALTY SH EET

  D efendant's N am e:D ERRICK J.N ESBITT

  Case N o.
          '

  Counts#:1-2

  W ire Fraud.Title 18.United States Code.Section 1343


  * M ax.Term oflm prisonm ent:20 years
  *M andatory M in.Term oflmprisonment(ifapplicable):n/a
  * M ax.Supervised R elease:3 years
  *M ax.Fine:$250,000




    *Refersonly to possible term ofincarceration,supervised releaseand fines. Itdoesnotindude
          restitution,specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
